 Case: 1:24-cv-07307 Document #: 61-1 Filed: 10/02/24 Page 1 of 19 PageID #:496




                         UNITED STATES DISTRIC COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS


                                        )
ILLINOIS BANKERS ASSOCIATION,           )
AMERICAN BANKERS ASSOCIATION,           )
AMERICA’S CREDIT UNIONS, and            )
ILLINOIS CREDIT UNION LEAGUE,           )
                                        )
      Plaintiffs,                       )
                                        )
v.                                      )             No. 1:24-cv-07307
                                        )           Hon. Virginia M. Kendall
KWAME RAOUL, in his official capacity   )
as Illinois Attorney General,           )
                                        )
      Defendant.                        )
                                        )


     BRIEF OF THE OFFICE OF THE COMPTROLLER OF THE CURRENCY
         AS AMICUS CURIAE IN SUPPORT OF PLAINTIFFS’ MOTION
                   FOR A PRELIMINARY INJUNCTION
                 _______________________________________
                                            THEODORE J. DOWD II, Acting Senior Deputy
                                            Comptroller and Chief Counsel
                                            PATRICIA S. GRADY, Deputy Chief Counsel
                                            PETER C. KOCH, Director for Litigation
                                            GABRIEL HINDIN, Special Counsel
                                            HANNAH HICKS, Counsel
                                            DERICK FONG, Attorney
                                            Attorneys for Office of
                                            the Comptroller of the Currency
                                            400 7th Street S.W.
                                            Washington, D.C. 20219




                                        i
      Case: 1:24-cv-07307 Document #: 61-1 Filed: 10/02/24 Page 2 of 19 PageID #:497




                                                  TABLE OF CONTENTS

INTRODUCTION......................................................................................................................... 1
BACKGROUND ........................................................................................................................... 2
ARGUMENT ................................................................................................................................. 4
I.        The NBA Preempts the Interchange Fee Restriction .......................................................... 6
A.        National banks have the power under the NBA to process debit and credit card
          transactions and charge fees for those services................................................................... 7
B.        The Interchange Fee Restriction prevents or significantly interferes with national banks’
          exercise of their power under the NBA to process credit and debit card transactions and
          charge fees for those services. ............................................................................................ 8
II.       The NBA Preempts the Data Usage Prohibition............................................................... 12
A.        National banks have the power to use electronic payment transaction data. .................... 12
B.        The IFPA prevents or significantly interferes with national banks’ exercise of their power
          under the NBA to process electronic payment transaction data. ...................................... 14
CONCLUSION ........................................................................................................................... 15




                                                                     ii
    Case: 1:24-cv-07307 Document #: 61-1 Filed: 10/02/24 Page 3 of 19 PageID #:498




                                                TABLE OF AUTHORITIES
                                                                                                                                   Page(s)

Cases

Anderson National Bank v. Luckett,
  321 U.S. 233 (1944) ............................................................................................................ 5, 6, 9
Bank of Am. v. City & Cnty. of San Francisco,
  309 F.3d 551 (9th Cir. 2002) ...................................................................................................... 8
Barnett Bank of Marion County, N.A. v. Nelson,
  517 U.S. 25 (1996) .............................................................................................. 4, 5, 8, 9, 14, 15
Cantero v. Bank of Am., N.A.,
  144 S. Ct. 1290 (2024) .................................................................................... 5, 6, 7, 8, 9, 12, 15
Easton v. Iowa,
  188 U.S. 220 (1903) .............................................................................................................. 3, 11
Fid. Fed. Sav. & Loan Ass’n v. de la Cuesta,
  458 U.S. 141 (1982) ................................................................................................ 5, 6, 8, 10, 15
First Nat’l Bank of San Jose v. California,
  262 U.S. 366 (1923) .......................................................................................................... 5, 6, 11
Franklin Nat’l Bank of Franklin Square v. New York,
  347 U.S. 373 (1954) ................................................................................................ 5, 8, 9, 10, 15
Geier v. Am. Honda Motor Co.,
  529 U.S. 861 (2000) .................................................................................................................... 6
M&M Leasing Corp. v. Seattle First Nat’l Bank,
  563 F.2d 1377 (9th Cir. 1977) .................................................................................................... 4
Marquette Nat’l Bank of Minneapolis v. First of Omaha Serv. Corp.,
  439 U.S. 299 (1978) .................................................................................................................... 2
McClellan v. Chipman,
  164 U.S. 347 (1896) .......................................................................................................... 6, 9, 10
Monroe Retail, Inc. v. RBS Citizens, N.A.,
  589 F.3d 274 (6th Cir. 2009) ...................................................................................................... 8
National Bank v. Commonwealth,
  9 Wall. 353 (1869) .................................................................................................................. 6, 9
NationsBank of N.C., N.A. v. Variable Annuity Life Ins. Co.,
  513 U.S. 251 (1995) ............................................................................................................ 3, 4, 5
Skidmore v. Swift & Co.,
  323 U.S. 134 (1944) .................................................................................................................... 6
Talbott v. Bd. of Cty. Comm’rs of Silver Bow,
  Cty., 139 U.S. 438 (1891) ......................................................................................................... 12
Watters v. Wachovia Bank, N.A.,
  550 U.S. 1 (2007) ........................................................................................................................ 3

Constitution

U.S. CONST., art. VI, cl. 2 ............................................................................................................... 5

                                                                     iii
    Case: 1:24-cv-07307 Document #: 61-1 Filed: 10/02/24 Page 4 of 19 PageID #:499




Statutes

12 U.S.C. § 1 ................................................................................................................................... 3
12 U.S.C. § 24 ....................................................................................................................... 4, 7, 13
12 U.S.C. § 25b(b)(5) ..................................................................................................................... 6
12 U.S.C. § 93(d) ............................................................................................................................ 3
12 U.S.C. § 93a ............................................................................................................................... 5
12 U.S.C. § 1461 ............................................................................................................................. 3
12 U.S.C. § 1464 ............................................................................................................................. 4
15 U.S.C. § 1693o-2 ....................................................................................................................... 8
815 Ill. Comp. Stat. 151/150-5 ..................................................................................................... 11
815 Ill. Comp. Stat. 151/150-10(a) ............................................................................................. 3, 7
815 Ill. Comp. Stat. 151/150-15(b) ............................................................................................... 12

Regulations

12 C.F.R. § 7.1000 ............................................................................................................ 12, 13, 15
12 C.F.R. § 7.4002 ...................................................................................................................... 7, 8
12 C.F.R. § 7.5006 ............................................................................................................ 12, 13, 15
12 C.F.R. § 145.17 .......................................................................................................................... 4
12 C.F.R. § 155.200 ........................................................................................................................ 4
12 C.F.R. Part 235........................................................................................................................... 8
12 C.F.R. § 555.200 ........................................................................................................................ 4

Other Authorities

OCC Interpretive Letter No. 928, 2001 WL 1835017 (Dec. 24, 2001) ........................................ 13
OCC Interpretive Letter No. 872 (Oct. 28, 1999) ......................................................................... 12
OCC Interpretive Letter No. 1077, 2007 WL 1792535 (Jan. 11, 2007) ...................................... 13
OCC Interpretive Letter No. 689, 1995 WL 604271 (August 9, 1995) ......................................... 7
Operational Risk Description: Fraud Risk Management Principles,
2019 WL 3408595 (July 24, 2019) ............................................................................................... 13




                                                                        iv
    Case: 1:24-cv-07307 Document #: 61-1 Filed: 10/02/24 Page 5 of 19 PageID #:500




                                         INTRODUCTION

        Credit and debit card transactions help to propel the Nation’s economy by facilitating

commerce. 1 The interchange fees that financial institutions collect to facilitate these transactions

are a core feature of an intricately-designed Nation-wide payments system in which national banks

and Federal savings associations play an essential role. 2 The Illinois Interchange Fee Prohibition

Act, H.B. 4951, Section 150 (“IFPA”) is an ill-conceived, highly unusual, and largely unworkable

state law that threatens to fragment and disrupt this efficient and effective system. Although the

IFPA’s requirements are vague and ambiguous in many respects, this much is clear: the IFPA

prevents or significantly interferes with federally-authorized banking powers that are fundamental

to safe and sound banking and disrupts core functionalities that drive the Nation’s economy. In

short, the IFPA constitutes both bad policy and an unlawful interference with federally granted

powers.

       The national bank powers infringed upon by the IFPA are of fundamental importance to

maintaining a safe and sound banking system. As explained more fully below, interchange fees

play a vital role in enabling banks to protect against fraud, cover the costs of transaction processing,

and provide other valuable consumer services. If the interchange fee prohibition provision in the

IFPA is not invalidated, it will erode this essential infrastructure, leaving national banks with

extraordinary operational burdens that likely will be passed on to consumers in the form of higher

fees, reduced services, and weakened fraud protection. In addition to the misguided and unlawful


1
  In 2021 alone, 157 billion credit and debit card transactions were processed in the United States,
amounting to $9.43 trillion in total transaction value. Fed. Rsrv. Bd., The Federal Reserve
Payments Study: 2022 Triennial Initial Data Release (last updated June 24, 2024).
2
  Interchange fees “cover handling costs and credit risk in a bank card transaction” and take “into
account authorization costs, fraud and credit losses, and the average bank cost of funds.” See OCC
Comptroller’s Handbook, Payment Systems, at 97 (Oct. 2021).
                                                   1
  Case: 1:24-cv-07307 Document #: 61-1 Filed: 10/02/24 Page 6 of 19 PageID #:501




restrictions on interchange fees, the IFPA’s imprudent data usage limitation will likewise weaken

national banks’ and Federal savings associations’ abilities to prevent fraud, manage risk, and

provide critical services to consumers. Simply put, the IFPA’s prohibition on banks’ ability to use

transaction data beyond the processing of the payment is fraught with risk, including customer

injury. National banks and Federal savings associations depend on transaction data to monitor for

suspicious activities, detect fraud, and offer other services that benefit consumers. By imperiling

these capabilities, the IFPA ignores the vital role data plays in safeguarding the financial system.

If the IFPA is allowed to remain in effect, it is likely that fraud risk would increase significantly,

consumers services would be constrained, and public trust would decline.

       Unchecked the IFPA would create extraordinary uncertainty and impose debilitating

operational challenges on national banks and Federal savings associations. If the IFPA is not

enjoined and invalidated, it may well trigger a domino effect of other states and localities enacting

similar laws, thereby creating a fractured, highly inefficient, and unworkable payment system that

would materially affect interstate commerce. The result would be an unmanageable patchwork of

state laws that undermine the uniformity necessary for the smooth and effective functioning of the

national payment system. Accordingly, for the reasons explained below, this Court should grant

Plaintiffs’ motion for preliminary injunction and, ultimately, hold that the IFPA is preempted.

                                         BACKGROUND

       When Congress enacted the National Bank Act (“NBA”), it “intended to facilitate . . . a

‘national banking system.’” Marquette Nat’l Bank of Minneapolis v. First of Omaha Serv. Corp.,

439 U.S. 299, 314-15 (1978) (quoting Cong. Globe, 38th Cong., 1st Sess. 1451 (1864)). The

Supreme Court has long recognized the supremacy of the federal government in regulating national

banks. See, e.g., Easton v. Iowa, 188 U.S. 220, 238-39 (1903) (holding a state statute prohibiting

                                                  2
    Case: 1:24-cv-07307 Document #: 61-1 Filed: 10/02/24 Page 7 of 19 PageID #:502




receipt of deposits by insolvent banks inapplicable to national banks). In doing so, the Court has

“repeatedly made clear that federal control shields national banking from unduly burdensome and

duplicative state regulation.” Watters v. Wachovia Bank, N.A., 550 U.S. 1, 11 (2007).

       The Office of the Comptroller of the Currency (“OCC”) is an independent bureau of the

U.S. Department of the Treasury charged with administration of the NBA, 12 U.S.C. § 1 et seq.,

and the Home Owners’ Loan Act (“HOLA”), 12 U.S.C. § 1461 et seq. The OCC is authorized

generally to represent itself in litigation, 12 U.S.C. § 93(d), and is charged with “primary

responsibility for surveillance of ‘the business of banking,’” NationsBank of N.C., N.A. v. Variable

Annuity Life Ins. Co., 513 U.S. 251, 256 (1995). The OCC respectfully submits this amicus curiae

brief to address the permissible scope of state limitations on national banks’ and Federal savings

associations’ exercise of their federally authorized powers.

       The IFPA (i) prohibits credit and debit card issuers, payment card networks, acquirer

banks, and processors (entities that include national banks and Federal savings associations) from

receiving or charging an Illinois merchant any interchange fees on the gratuity and state and local

tax portions of the transactions (“Interchange Fee Restriction”), and (ii) prohibits those same

entities from using transaction data from purchases made with cards in Illinois for purposes other

than to process the transactions themselves or as otherwise “required by law” (“Data Usage

Prohibition”). 815 Ill. Comp. Stat. 151/150-10(a), 15(b). Both the Interchange Fee Restriction and

Data Usage Prohibition would prevent or significantly interfere with various federally authorized

powers of national banks and Federal savings associations. Therefore, by operation of the

Supremacy Clause of the United States Constitution, the IFPA is preempted. 3


3
  Federal savings associations derive their powers from the Home Owners’ Loan Act of 1933,
(“HOLA”), 12 U.S.C. § 1464, and its implementing regulations, which the OCC administers. The

                                                 3
   Case: 1:24-cv-07307 Document #: 61-1 Filed: 10/02/24 Page 8 of 19 PageID #:503




                                            ARGUMENT

       Congress granted national banks express powers—comprising traditional banking

functions such as lending money and taking deposits—as well as “all such incidental powers as

shall be necessary to carry on the business of banking.” 12 U.S.C. § 24(Seventh). National banks

are thus statutorily authorized to engage in activity that is part of, or incidental to, the business of

banking, including but not limited to powers enumerated in § 24(Seventh). NationsBank, 513 U.S.

at 258 n.2. Incidental powers include activities that are “convenient or useful in connection with

the performance of one of the bank’s established activities pursuant to its express powers under

the National Bank Act.” M&M Leasing Corp. v. Seattle First Nat’l Bank, 563 F.2d 1377, 1382

(9th Cir. 1977). The Supreme Court has “interpret[ed] grants of both enumerated and incidental

‘powers’ to national banks as grants of authority not normally limited by, but rather ordinarily

preempting, contrary state law.” Barnett Bank of Marion County, N.A. v. Nelson, 517 U.S. 25, 32

(1996). Where a state statute prevents or significantly interferes with a power that national banks

are authorized to exercise, the state statute conflicts with the federal statute and is preempted by




HOLA directs courts to apply “the laws and legal standards applicable to national banks” in
determining whether federal law preempts state regulation of Federal savings associations. Id.
§ 1465(a). Because the IFPA prevents or significantly interferes with Federal savings associations’
exercise of federally authorized powers, it would be similarly preempted by the HOLA. See, e.g., 12
U.S.C. § 1464(c)(1)(T) (authorizing Federal savings associations to offer credit cards); id.
§ 1464(b)(1)(A)(i)-(ii) (authorizing Federal savings associations to “raise funds through … deposit . .
. accounts” and “issue … evidence of accounts”); 12 C.F.R. § 145.17 (authorizing Federal savings
associations “to transfer, with or without a fee, its customers’ funds”); id. § 155.200 (authorizing
Federal savings associations to use electronic means and facilities, which includes data processing);
see also 63 FR 65673, 65676 (Nov. 30, 1998) (stating that 12 C.F.R. § 155.200 (then codified at 12
C.F.R. § 555.200) authorizes data processing and transmission services). This amicus curiae brief
focuses primarily on national bank powers and preemption of the IFPA by the NBA. However, the
OCC’s analysis of such issues is equally applicable to Federal savings associations and preemption of
the IFPA by the HOLA.
                                                   4
    Case: 1:24-cv-07307 Document #: 61-1 Filed: 10/02/24 Page 9 of 19 PageID #:504




operation of the Supremacy Clause. U.S. CONST., art. VI, cl. 2; Cantero v. Bank of Am., N.A., 144

S. Ct. 1290, 1300-01 (2024); Barnett Bank, 517 U.S. at 31.

       As the Agency charged with implementing the NBA and overseeing national banks’

exercise of the powers thereunder, the OCC has broad authority from Congress to prescribe rules

and regulations to carry out its responsibilities. 12 U.S.C. § 93a. This includes authority to define

“incidental powers” of national banks and to authorize activities beyond those enumerated in the

statute. NationsBank, 513 U.S. at 258, n.2. Under the Supremacy Clause, OCC regulations “have

no less pre-emptive effect than” the NBA itself. See Fid. Fed. Sav. & Loan Ass’n v. de la Cuesta,

458 U.S. 141, 153 (1982).

       In Barnett Bank v. Nelson, the U.S. Supreme Court considered conflict preemption in the

national banking context and held that state law is preempted where it prevents or significantly

interferes with a national bank’s exercise of its federal powers. See 517 U.S. at 33. In Cantero v.

Bank of America, the Court reaffirmed the Barnett Bank standard and held that its application must

be based on “a practical assessment of the nature and degree of the interference caused by a state

law.” See 144 S. Ct. at 1300. The Cantero Court explained that such an assessment may include

consideration of Barnett Bank and its antecedents, in which the Court reached conclusions about

the interference “based on the text and structure of the laws, comparison to other precedents, and

common sense.” Id. at 1300-01, n. 3. 4 While the Court’s precedent does not “establish a clear line

to demarcate” whether state law is preempted by federal law, id. at 1298 (internal citations


4
  The Cantero Court cited six antecedent cases: Fidelity Fed. Sav. & Loan Ass’n v. de la Cuesta,
458 U.S. 141 (1982); Franklin Nat’l Bank of Franklin Square v. New York, 347 U.S. 373 (1954);
Anderson National Bank v. Luckett, 321 U.S. 233 (1944); First Nat’l Bank of San Jose v.
California, 262 U.S. 366 (1923); McClellan v. Chipman, 164 U.S. 347 (1896); and National Bank
v. Commonwealth, 9 Wall. 353 (1869). The Court found state law to be preempted in Fidelity,
Franklin, and San Jose and not to be preempted in Anderson, McClellan, and Commonwealth.
                                               5
     Case: 1:24-cv-07307 Document #: 61-1 Filed: 10/02/24 Page 10 of 19 PageID #:505




omitted), it demonstrates that a state law prevents or significantly interferes with a federal power,

at a minimum, when it (1) interferes with critical flexibility granted to a national bank under federal

law; 5 (2) interferes with a national bank’s efficiency and effectiveness in exercising its federal

power; 6 or (3) qualifies a federal power in an unusual way. 7

         The OCC’s judgment as to whether a state restriction interferes with the exercise of

national bank powers is entitled to “weight” by a reviewing court. See Skidmore v. Swift & Co., 323

U.S. 134, 140 (1944); 12 U.S.C. § 25b(b)(5) (codifying the Skidmore standard); see also Geier v.

Am. Honda Motor Co., 529 U.S. 861, 883 (2000) (noting that agencies are “uniquely qualified” to

comprehend the likely impact of state requirements when their delegated authority concerns

subject matters that are “technica[l]” and “the relevant history and background are complex and

extensive”).

I.      The NBA Preempts the Interchange Fee Restriction
         The IFPA prohibits national banks from “receiv[ing] or charg[ing] a merchant any

interchange fee on the tax amount or gratuity of an electronic payment transaction if the merchant

informs the acquirer bank or its designee of the tax or gratuity amount as part of the authorization

or settlement process for the electronic payment transaction.” 815 Ill. Comp. Stat. 151/150-10(a).

Not only would this Interchange Fee Restriction wreak havoc on the Nation’s economy, it readily




5
  The Fidelity Court considered a state law that limited a Federal savings association’s “flexibility”
regarding when to exercise a discretionary federal power. The Court found that the state law
limitations would interfere with this flexibility (which was critical to the federal scheme) and
concluded that the state law was preempted. See 458 U.S. at 159.
6
  The Franklin Court considered a state law that interfered with national banks’ ability to exercise
their federal powers “effectively” and “efficiently” and concluded that the state law was
preempted. See Cantero, 144 S. Ct. at 1298 (discussing Franklin).
7
  The San Jose Court considered a state law that qualified a national bank power in an “unusual”
way and concluded that the state law was preempted. See 262 U.S. at 370.
                                                   6
    Case: 1:24-cv-07307 Document #: 61-1 Filed: 10/02/24 Page 11 of 19 PageID #:506




meets the standard of “prevent[ing] or significantly interfere[ing] with” national banks’ exercise

of powers under the NBA to process debit and credit card transactions and charge fees for those

services. See, e.g., 12 C.F.R. § 7.4002(a). Accordingly, the Court should find this section of the

IFPA is preempted. Cantero, 144 S. Ct. at 1300.

     A. National banks have the power under the NBA to process debit and credit card
        transactions and charge fees for those services.

        The OCC has long interpreted the grant of power in § 24(Seventh) to include the right of

national banks to process debit and credit card transactions. 8 Likewise, the OCC has interpreted

§ 24(Seventh) to authorize national banks to engage in merchant processing activities, which are

defined as “the settlement of credit and debit card payment transactions by banks for merchants

through various card associations.” 9

        It is a fundamental principle that the authority conferred by federal banking law to provide

a banking service necessarily carries with it the authority to charge for that service. See, e.g.,

Monroe Retail, Inc. v. RBS Citizens, N.A., 589 F.3d 274, 284 (6th Cir. 2009); Bank of Am. v. City

& Cnty. of San Francisco, 309 F.3d 551, 562 (9th Cir. 2002). Pursuant to its authority under federal

law, the OCC has issued regulations making explicit national banks’ powers to charge fees in

connection with providing authorized products and services. In 12 C.F.R. § 7.4002, the OCC



8
  See, e.g., OCC Corporate Decision 99-50 at *4 (December 23, 1999) (“processing credit and
debit card transactions … are clearly part of the business of banking”).
9
  See OCC Comptroller’s Handbook, Merchant Processing, at 1 (August 2014); see also, e.g.,
OCC Conditional Approval No. 773 at 1 (Nov. 30, 2006) (“merchant processing activities are part
of, or incidental to, the business of banking”); OCC Conditional Approval No. 248 at 4 (June 27,
1997) (“[i]t is clear that merchant processing activities are permissible for national banks”); OCC
Interpretive Letter No. 689, 1995 WL 604271 at *1 (August 9, 1995) (“[t]he processing of credit
card transactions for merchants is a part of or incidental to the business of banking within the
meaning of 12 U.S.C. 24(Seventh)”).

                                                 7
     Case: 1:24-cv-07307 Document #: 61-1 Filed: 10/02/24 Page 12 of 19 PageID #:507




specifically addressed the authority of national banks to collect non-interest charges and fees. The

regulation states that the establishment of such fees “are business decisions to be made by each

bank . . . according to sound business judgment and safe and sound banking principles” and

identifies factors bearing upon a bank’s decision to establish a fee. Id. § 7.4002(b)(2). The OCC

has also addressed the specific issue of interchange fees, finding that national banks are authorized

to charge them to merchants as part of the standard clearing and settlement process for debit and

credit card transactions. 10

      B. The Interchange Fee Restriction prevents or significantly interferes with national
         banks’ exercise of their power under the NBA to process credit and debit card
         transactions and charge fees for those services.

         Whether a state law “significantly interferes” with a national bank’s powers is determined

by “the text and structure of the laws, comparison to other precedents, and common sense.”

Cantero, 144 S. Ct. at 1301 n.3. The Supreme Court has recently explained that Barnett Bank of

Marion County v. Nelson, 517 U.S. 25 (1996); Franklin National Bank of Franklin Square v. New

York, 347 U.S. 373 (1954), and Fidelity Federal Savings & Loan Association v. de la Cuesta, 458

U.S. 141 (1982), “together illustrate the kinds of state laws that significantly interfere with the

exercise of a national bank power and thus are preempted.” Cantero, 144 S. Ct. at 1299. 11

         In Barnett Bank, the Supreme Court held that a federal law allowing national banks to sell

insurance in small towns preempted a state law forbidding certain national banks from selling


10
   See OCC Comptroller’s Handbook, Merchant Processing at 9, 32 (August 2014) discussing
fees involved in merchant processing, including interchange fees). Other federal law also
addresses national banks’ authority to charge interchange fees. See 15 U.S.C. § 1693o-2 and 12
C.F.R. Part 235.
11
   The IFPA’s interference with national bank powers is less akin to the interference in cases in
which state laws were not preempted. In Anderson National Bank v. Luckett, 321 U.S. 233 (1944),
the Supreme Court concluded that a Kentucky law that required banks to turn over abandoned

                                                 8
  Case: 1:24-cv-07307 Document #: 61-1 Filed: 10/02/24 Page 13 of 19 PageID #:508




insurance. See 517 U.S. at 33. In doing so, the Barnett Bank Court noted that federal grants of

authority in the national banking context are “not normally limited by, but rather ordinarily pre-

empt[], contrary state law.” See id. at 32.

       Franklin addressed a New York statute that prohibited all but state-chartered savings banks

from using “saving” or “savings” in their advertisements. Franklin, 347 U.S. at 374. National

banks were authorized to provide savings accounts under federal law, and the Supreme Court held

that the NBA preempted the state prohibition, which interfered with national banks’ ability to

exercise their federal powers “effectively” and “efficiently.” See Cantero, 144 S. Ct. at 1298

(discussing Franklin); see also Franklin, 347 U.S. at 377-78. In reaching this conclusion, the

Franklin Court observed that it could not “believe that the incidental powers granted to national

banks should be construed so narrowly as to preclude the use of advertising in any branch of their

authorized business.” 347 U.S. at 377.

       In Fidelity, the Supreme Court considered whether a federal regulation that permitted

federally chartered savings and loan associations to exercise due-on-sale clauses preempted a

California law limiting savings and loan associations’ exercise of due-on-sale clauses. See Fidelity,

458 U.S. at 154-55. The Court determined the federal regulation preempted California law because


deposits to the state in the same way and to the same extent that depositors could demand payment
of accounts did not “infringe the national banking laws or impose an undue burden on the
performance of the banks’ functions.” See 321 U.S. at 248. In McClellan v. Chipman, 164 U.S.
347 (1896), the Court concluded that a generally applicable state contract law was not preempted
as applied to national banks, reasoning that the law under review did not “in any way impai[r] the
efficiency of national banks or furstrat[e] the purpose for which they were created.” See 164 U.S.
at 358. And in National Bank v. Commonwealth, 76 U.S. 353 (1869), the Court concluded that a
state tax law was not preempted, explaining that national banks are “exempted from State
legislation, so far as that legislation may interfere with, or impair their efficiency in performing
the functions” authorized by federal law. 76 U.S. at 362. As discussed more fully in this part and
infra Part II.B, unlike the statutes under review in Anderson, McClellan, and National Bank, the
IFPA imposes unusual burdens and impairs efficient performance of national bank powers.
                                                   9
  Case: 1:24-cv-07307 Document #: 61-1 Filed: 10/02/24 Page 14 of 19 PageID #:509




a savings and loan association could not exercise a due-on-sale clause solely at its option, and the

law thus interfered with the flexibility given to it under federal law. Id. at 154-55, 159.

       Like the prohibitions on selling insurance in small towns addressed in Barnett Bank, using

“savings” in advertisements addressed in Franklin, and setting limitations on due-on-sale clauses

addressed in Fidelity, the IFPA frustrates national banks’ ability to effectively and efficiently

discharge authorized powers and limits the flexibility given to them under federal law regarding

non-interest fees. Cf. McClellan v. Chipman, 164 U.S. 347, 359 (1896) (“As long since settled in

the cases already referred to, the purpose and object of congress in enacting the national bank law

was to . . . preserv[e] [such banks] from undue state interference wherever congress, within the

limits of its constitutional authority, has expressly so directed, or wherever such state interference

frustrates the lawful purpose of congress, or impairs the efficiency of the banks to discharge the

duties imposed upon them by the law of the United States.”).

       National banks play a vital role in processing credit and debit transactions, which are

essential to the functioning of the Nation’s economy. In connection with this activity, banks

assume risks of non-payment and fraud and offer other services, such as reward programs. National

banks have long received compensation for the assumption of this risk and the provision of other

ancillary customer benefits in the form of interchange fees for their role in processing transactions.

For certain banks, this activity may be a key business line that provides an important source of

income. Under the IFPA, a national bank that processes a debit or credit transaction would be

prevented from charging a fee on the tax and tip portion of the transaction, even though it processes

the entire transaction. As such, the IFPA prevents national banks from charging a fee for services

they provide despite clear federal authority to do so. By requiring national banks to provide

services for free, Illinois seeks to impose an “unusual qualification” on national banks that would

                                                 10
  Case: 1:24-cv-07307 Document #: 61-1 Filed: 10/02/24 Page 15 of 19 PageID #:510




interfere with national banks’ ability to exercise their powers effectively and efficiently. Cf. San

Jose, 262 U.S. at 370 (holding that a state law that qualified a national bank power in an “unusual”

way was preempted).

       The IFPA does not account for the complexities of the national payments system and the

various roles of participants operating within that system. To comply with the IFPA, institutions

would be forced to incur extraordinary costs in creating new systems and processes to effectuate

the IFPA’s first-of-its-kind exclusion of tax and gratuity amounts from the processing of

interchange fees. Furthermore, the IFPA’s overly broad and definition of “tax” compounds the

burdens and uncertainties national banks would face in effectuating compliance. The IFPA defines

“tax” as “any use and occupation tax or excise tax imposed by the State or a unit of local

government in the state.” 815 Ill. Comp. Stat. 151/150-5. Setting aside the possibility that the

Interchange Fee Restriction could pave the way for further and differing incursions from several

states into national banks’ authority to set fees for services rendered, compliance with the IFPA

alone would seemingly require national banks to accommodate the taxation schemes of hundreds

of Illinois localities, thereby frustrating the purposes of the national banking system and impairing

national banks’ ability to effectively and efficiently conduct the business of banking. See Easton,

188 U.S. at 231 (“It thus appears that Congress has provided a symmetrical and complete scheme

for the banks to be organized under the provisions of the [NBA].”); Talbott v. Bd. of Cty. Comm’rs

of Silver Bow Cty., 139 U.S. 438, 443 (1891) (“the entire body of the statute respecting national

banks, emphasize[s] that which the character of the system implies,—an intent to create a national

banking system co-extensive with the territorial limits of the United States, and with uniform

operations within those limits . . . ”); OCC Interpretive Letter No. 872 (Oct. 28, 1999) (“Through

the national charter, Congress has established a banking system intended to be both nationwide in

                                                 11
     Case: 1:24-cv-07307 Document #: 61-1 Filed: 10/02/24 Page 16 of 19 PageID #:511




scope and uniform in character”). After considering the text and structure of the laws, comparison

to other precedents, and common sense, 12 this Court should conclude that the Interchange Fee

Restriction prevents or significantly interferes with national bank powers and is preempted.

II.       The NBA Preempts the Data Usage Prohibition

          The IFPA makes it unlawful for banks, and any entity other than a merchant, “involved in

facilitating or processing an electronic payment transaction” to “distribute, exchange, transfer,

disseminate, or use the electronic payment transaction data except to facilitate or process the

electronic payment transaction or as required by law.” 815 Ill. Comp. Stat. 151/150-15(b). For the

reasons explained below, this Data Usage Prohibition “prevents or significantly interferes with”

national banks’ exercise of broad powers under the National Bank Act to process and use data. See

12 C.F.R. §§ 7.1000(d)(1) and 7.5006(a). Accordingly, the Court should find this section of the

IFPA is preempted. Cantero, 144 S. Ct. at 1300.

      A. National banks have the power to use electronic payment transaction data.

          The OCC has consistently held that “as part of the business of banking, national banks may

collect, transcribe, process, analyze, and store for itself and others banking, financial, or economic

data.” OCC Inter. Ltr. 928, 2001 WL 1835017, at *4 (Dec. 24, 2001); id. n. 12 (listing OCC

interpretive rulings and letters that support this view). Indeed, 12 C.F.R. § 7.5006 codifies these

OCC interpretations, OCC Inter. Ltr. 1077, 2007 WL 1792535, at *4 (Jan. 11, 2007), and states,

in part, that “[i]t is part of the business of banking under 12 U.S.C. 24(Seventh) for a national bank

to provide data processing, and data transmission services . . . and access to such services . . . for

itself and for others, where the data is banking, financial, or economic data,” which “includes



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     Cantero, 144 S.Ct. at 1301, n.3.
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  Case: 1:24-cv-07307 Document #: 61-1 Filed: 10/02/24 Page 17 of 19 PageID #:512




anything of value in banking and financial decisions.” In addition, national banks possess the

power to use electronic payment transaction data “as incidental to the business of banking if it is

convenient or useful to an activity that is specifically authorized for national banks or to an activity

that is otherwise part of the business of banking.” 12 C.F.R. § 7.1000(d)(1).

       Thus, national banks have the authority to process and use data for a wide variety of

purposes. For example, banks use data for fraud analyses which enables efficient and effective

operations and supports safety and soundness. Indeed, the OCC encourages, but does not mandate,

national banks to utilize electronic payment transaction data as a vital component of their fraud

detection and prevention systems. See, e.g., OCC Bull. 2019-37, Operational Risk Description:

Fraud Risk Management Principles, 2019 WL 3408595, at *4 (July 24, 2019) (encouraging banks

to “deploy solutions that serve to detect anomalies and prevent potential fraudulent transactions or

activities . . . monitor transactions and behaviors, employ layered or multifactor authentication,

monitor networks for intrusions or malware, analyze transactions on internal bank platforms, and

compare data with consortium or publicly available data”). Accordingly, federal regulations and

guidance afford national banks with flexibility to integrate fraud risk management principles

“within the bank’s risk management system commensurate with the bank’s size, complexity, and

risk profile,” to include utilizing transaction data in support of fraud prevention. Id. at * 3.

       Based on broad supervisory experience, the OCC has observed that national banks use

transaction data in a variety of ways, including to strengthen risk management and fraud detection,

obtain customer insights to tailor products and services to meet customer needs, improve customer

satisfaction, and increase operational efficiency. See, e.g., Office of the Comptroller of the

Currency, Comptroller’s Handbook: Payment Systems, p. 48 (Oct. 2021) (explaining that banks

use real-time monitoring of customer behavior to identify irregular payment patterns and prevent

                                                  13
     Case: 1:24-cv-07307 Document #: 61-1 Filed: 10/02/24 Page 18 of 19 PageID #:513




fraud); Interagency Statement on the Use of Alternative Data in Credit Underwriting, News

Release 2019-142 (Dec. 3, 2019) (describing the benefits of using alternative data, including

expanding access to credit, enabling consumers to obtain additional products, and providing more

favorable pricing and terms).

      B. The IFPA prevents or significantly interferes with national banks’ exercise of their
         power under the NBA to process electronic payment transaction data.

          The IFPA’s Data Usage Prohibition is tantamount to a near-complete ban on national

banks’ use of transaction data in ways that are expressly authorized by federal law. As such,

consistent with Barnett Bank, Fidelity, and Franklin this provision of the IFPA prevents or

significantly interferes with national banks’ broad powers under the NBA. 13 Therefore, the Data

Usage Prohibition provision of the IFPA is preempted.

          As noted above, in Barnett Bank the federal statute at issue in that case authorized, but did

not require, national banks to sell insurance in small towns, while the state law expressly forbade

national banks from exercising that power. 517 U.S. at 28-31. The Court observed that the federal

law “grants a national bank an authorization, permission, or power . . . that does not condition

federal permission upon that of the State.” Id. at 34-35. Thus, if a national bank had otherwise

elected to exercise its federally granted permission to sell insurance, the state had no authority to

condition or limit the exercise of that federal power. Because the Florida law at issue in Barnett

Bank purported to do just that, it was preempted. Id. at 37.

          Application of Barnett Bank to the IFPA yields the same result. As discussed above, federal

law authorizes, but does not require, national banks to process and use transaction data in broad

ways in connection with the business of banking, including fraud detection. The IFPA purports to


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     See also supra note 11.
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  Case: 1:24-cv-07307 Document #: 61-1 Filed: 10/02/24 Page 19 of 19 PageID #:514




restrict national banks’ exercise of this federally granted authority. Because Illinois law cannot

prevent or significantly interfere with a national bank’s exercise of its federally authorized power

to use and process transaction data, just as the Florida law in Barnett Bank could not, the Data

Usage Prohibition of the IFPA conflicts with national banks’ federal power and is preempted. As

in Fidelity, discussed at supra Part I.B., the IFPA unlawfully “deprive[s]” national banks of the

“flexibility” federal law accords them to process and use transaction data. 458 U.S. at 155. As was

the case in Franklin, also discussed at supra Part I.B., here, too, national banks’ powers to use

transaction data, including in ways that “are convenient or useful to an activity that is specifically

authorized for national banks or to an activity that is otherwise part of the business of banking,”

12 C.F.R. § 7.1000(d)(1), should not be construed so narrowly as to preclude national banks’ use

of data in ways authorized by federal law to carry out the business of banking. The IFPA’s Data

Usage Limitation, however, precludes such use, which interferes with national banks’ ability to

engage in the business of banking “efficiently” and “effectively.” See Cantero, 144 S. Ct. at 1298

(citing Franklin, 347 U.S. at 377-78). Accordingly, the Data Usage Prohibition provision of the

IFPA is preempted.

                                          CONCLUSION

       For the reasons discussed herein, the Court should issue a preliminary injunction.

 Respectfully submitted,

 THEODORE J. DOWD II, Acting Senior                    Attorneys for Office of the
 Deputy Comptroller and Chief Counsel                  Comptroller of the Currency
 PATRICIA S. GRADY, Deputy Chief                       400 7th Street S.W.
 Counsel                                               Washington, D.C. 20219
                  /s/
 PETER C. KOCH, Director for Litigation
 GABRIEL HINDIN, Special Counsel
 HANNAH HICKS, Counsel
 DERICK FONG, Attorney

                                                 15
